Case 2:05-Cr-20049-BBD Document 24 Filed 06/30/05 Page 1 of 2 Page|D 22

 

 

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IN THE UNITED STATES DISTRICT CoURT
FOR THE WESTERN DISTRICT oF TENNESSEE 05 JUN 30 H 3: 55
WESTERN DIVISION §HO§
MS M. GOUJJ
'“ W§D 6 §,tacmm
UNITED STATES oF AMERICA, "“ "'M"”Hl$
PLAINTIFF,
v. CR No.= 2=05cr20049-1)
NoRMAN CARRICK
DEFENDANT.

 

ORDER FOR EVALUATION OF DEFENDANT
PURSUANT TO 18 U.S.C. § 4241

 

For good cause shown and Without objection by the government, the Court hereby
GRANTS defendant’S motion for evaluation pursuant to 18 U.S.C. § 4241. Defendant shall be
transferred to a Federal Medical Facility that is available to determine defendant’s competency to

Stand trial.

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Honcrable Bernice Donald
US DISTRICT COURT

